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   6

   7                         UNITED STATES DISTRICT COURT
   8                        CENTRAL DISTRICT OF CALIFORNIA
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        NEMAN BROTHERS & ASSOC.,                                               Case No.: 2:20-cv-11181-CAS-JPR
 12     JNC., a California Corporation;
 13                                                                            DECLARATION OF ADELSO
                  Plaintiff/Counter-Defendant,                                 HENRIQUEZ
 14

 15
                  vs.

 16     INTERFOCUS, INC., a California
        Corporation, et al.,
 17
                   Defendant/Counter-Claimant
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                         DECLARATION OF ADELSO HENRIQUEZ
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 1   I, ADELSO HENRIQUEZ, declare:
 2    1. I am over 18 years of age and have personal know ledge of each fact stated in this
 3       declaration. If called upon to testify thereto as a witness, I can and will testify.
 4    2. To my best recollection, I worked for NEMAN BROTHERS & ASSOC., INC.
 5
         ("Plaintiff' or " Neman") from either 2016 or early 20 17 until 2019 as a design
 6
         coordinator.
 7
      3. My job duties included filling out and submitting the copyright application forms
 8
         for Neman during my employment.
 9
      4. Ms. Vicky Alvarado was my predecessor who taught me how to do it at the
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         beginning. In her times, Ms. Alvarado filled out and submitted the applications in
11
         paper forms, and taught me more through actual works. Therefore, for training, she
12
         showed me how to fill out a couple of actual application forms.
13
      5. Later, when I was fully in charge of the applications, I started submitting the
14
         applications online. The form generally was the same, and therefore, while I was not
15
         familiar with online filings, I still could finish my jobs.
16
      6. After submission of the applications, I typically received the hardcopies of the
17
         registration certificates within a month or two.
18
      7. I from time to time, exchanged some emails with the copyright office mainly about
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         my inquiries as to the status of the certificate when I did not receive it even after two
20
         months from submission date. A few times, I received emails from the copyright
21
         office as to certain elements I named with NB number as part of the group
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         registration were too simple or too common and the copyright office would take out
23
         from the registrations, which the copyright office did. However, there was no emails
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         or letters from the copyright office as to other issues such as having to put all of the
25
         authors' names who worked on any of the elements of the group or needing to
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          identify prior-existing designs in connection with derivatives.
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      8. To my understanding, Neman already had been registering its designs for years
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          before I joined Neman, and I have no reason to believe Neman ever had any issues



                         DECLARATION OF ADELSO HENRIQUEZ
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 1       that Neman intentionally or by mistake provided inaccurate information on the
 2      copyright applications. Fmther, during my employment, Neman never had such
 3      issues with any of the information I provided on the applications submitted to the
 4      copyright office.
 5   9. Therefore, throughout the whole time of my employment, I genuinely believed I
 6      was doing my job right and providing the accurate answers to the questions on the
 7      applications. I had no reason to believe that what I did or how I did, could possibly
 8      be problematic in anyways or that the information I put on the applications could
 9      possibly be considered inaccurate. I had no reason to believe I needed to study more
10      about the applications.
11   10. I vaguely remember I saw multiple links on the copyright websites when looking for
12      the online application but did not know one of them might be a link to the
13      instructions about copyright application. I never knew or even heard of what
14      compendium or CFR were or such things even existed.
15   11. I am informed that in the above-captioned case, two registrations dated January 13,
16      2017, March 3, 2017 and April 30, 2018 are at issue. I do not remember specifically
17      about those registrations but based on my review of the contents and the dates of the
18      registrations, I think I filled out the relevant application forms for the said
19      certificates.
20   12. I was surprised to hear that the defendant in this case argued that the three
21      registrations should be invalidated because I did not put all of the design studio
22      names as authors and/or I did not identify the prior arts of some of the elements
23      because some of the elements of the groups are arguably derivatives of the prior
24      arts. I never heard or knew those issues could possibly be problems or basis for
25      invalidation. Even now, I just do not know whether those issues could really
26      invalidate the registrations that were already completed in 2017 or 2018.
27   13. To my understanding, the copyright office would write a letter or email to the
28      copyright applicants such as Neman when they have issues, or have more



                        DECLARATION OF ADELSO HENRIQUEZ
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 1        information needed. During my employment, Neman never had even any inquiries
 2        or comments back from the copyright office as to author, work for hire, or pre-
 3        existing design.
 4     14. In addition had there been any information missing or misstated, Neman had no
 5        reason to deliberately avoid knowing such issues because Neman had nothing to
 6        hide from the USCO, but rather, Neman would have wanted the copyright offices to
 7        get whatever it needs so that Neman' s copyrights be properly registered so that
 8        Neman's copyrights for its own designs would be fully protected.
 9    15. There was, and is, no reason why I would withhold, be unable or unwilling to
10        provide, or lie about, the identities of design studio names as authors or any
11        information about any prior-existing arts, had I known the said information was
12        required on the applications. To my best knowledge, there was, and is, no reason
13        why Neman would withhold, be unable or unwilling to provide, or lie about, the
14        identities of design studio names as authors or any information about any prior-
15        existing arts, had Neman known the said information was required on the
16        applications.
17
     Under penalty ofperjury under the laws of the United States and the State of California,
18
     declare that the foregoing is true and correct.
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20   Dated: November 11, 2022                                         Respectfull sub

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                          DECLARATION OF ADELSO HENRIQUEZ
